Case 08-14631-GMB   Doc 489-1 Filed 07/02/08 Entered 07/03/08 15:13:19   Desc
                           Exhibit A Page 1 of 11
Case 08-14631-GMB   Doc 489-1 Filed 07/02/08 Entered 07/03/08 15:13:19   Desc
                           Exhibit A Page 2 of 11
Case 08-14631-GMB   Doc 489-1 Filed 07/02/08 Entered 07/03/08 15:13:19   Desc
                           Exhibit A Page 3 of 11
Case 08-14631-GMB   Doc 489-1 Filed 07/02/08 Entered 07/03/08 15:13:19   Desc
                           Exhibit A Page 4 of 11
Case 08-14631-GMB   Doc 489-1 Filed 07/02/08 Entered 07/03/08 15:13:19   Desc
                           Exhibit A Page 5 of 11
Case 08-14631-GMB   Doc 489-1 Filed 07/02/08 Entered 07/03/08 15:13:19   Desc
                           Exhibit A Page 6 of 11
Case 08-14631-GMB   Doc 489-1 Filed 07/02/08 Entered 07/03/08 15:13:19   Desc
                           Exhibit A Page 7 of 11
Case 08-14631-GMB   Doc 489-1 Filed 07/02/08 Entered 07/03/08 15:13:19   Desc
                           Exhibit A Page 8 of 11
Case 08-14631-GMB   Doc 489-1 Filed 07/02/08 Entered 07/03/08 15:13:19   Desc
                           Exhibit A Page 9 of 11
Case 08-14631-GMB   Doc 489-1 Filed 07/02/08 Entered 07/03/08 15:13:19   Desc
                          Exhibit A Page 10 of 11
Case 08-14631-GMB   Doc 489-1 Filed 07/02/08 Entered 07/03/08 15:13:19   Desc
                          Exhibit A Page 11 of 11
